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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


MILLENNIUM FUNDING, INC., et al,
                                                  Civil Action No. 1:21-cv-00643-RDA-MSN
        Plaintiffs,

        v.

SURFSHARK LTD. et al.,

        Defendants.


     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFFS’
           EX PARTE MOTION TO SERVE BY ALTERNATIVE MEANS

        In support of their Motion to Serve by Alternative Means, Plaintiffs by and through their

counsel, submit this Memorandum.

I.      CONCISE STATEMENT OF FACTS

        Plaintiffs are the owners of the copyrights of popular motion pictures (“Works”) currently

available for sale online and in brick and mortar retail stores. See First Amended Complaint

(“FAC”) [Doc. #12] at ¶59; Exhibit “1” to the FAC [Doc. #12-1]. Plaintiffs invested significant

financial resources, time and effort in making and marketing these motion pictures based upon

the expectation that they would have an opportunity to get a return on their investment from

rentals and sales. Massive piracy of these motion pictures by Defendants and their subscribers

have hindered this opportunity. See Id. at ¶60.

        Defendants provide Virtual Private Network (“VPN”) services for anonymous usage of

the Internet by, for example, not logging subscriber access and encrypting traffic. See Id. at ¶81.

With the cover of anonymity, Defendants blatantly encourage subscribers to use their VPN

services for pirating copyright protected Works including Plaintiffs’. Indeed, Defendants
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explicitly advertise torrenting support, piracy websites, popular bittorrent clients, and guides for

torrenting, all the while acknowledging the illegality of pirating copyright protected works. See

Id. at ¶¶166-171, 179-187. Despite this acknowledgment, Defendants utilize the fear of being

caught to gain more subscribers to their VPN services, encouraging further pirating of copyright

protected works, including Plaintiffs’.

       To stop the massive piracy of their Works, Plaintiffs filed their original Complaint [Doc.

#1] on May 25, 2021. On August 24, 2021, Plaintiffs filed their FAC [Doc. #12] against

Defendants for inter alia infringing the registered copyrights in their motion pictures and

negligent and fraudulent misrepresentation. Defendants use various avenues to conceal or

complicate their real identities and physical addresses, such as utilizing alter egos, fictional

entities, and outright false information. See Id. at ¶¶61-75. Indeed, Defendants’ misleading and

false information in public records forms a part of the basis of this action. See Id. at ¶¶249-269.

       As further discussed below, pursuant to Fed. R. Civ. Pro. 4(f)(3), Plaintiffs respectfully

requests this Court to use its discretion to authorize alternative service on Defendants

SURFSHARK LTD. (“Surfshark”), ZENGUARD GMBH (“ZenGuard”), EXPRESS VPN

INTERNATIONAL LTD. (BVI Limited Company), EXPRESS VPN INTERNATIONAL

LIMITED (Isle of Man Company) (both ExpressVPN entities collectively referred to as

“ExpressVPN”), and VPN CONSUMER NETWORK SERVICES by registered electronic mail.

Plaintiffs respectfully assert that service by registered electronic mail is the most expeditious and

effective method to provide notice on Defendants. Accordingly, Plaintiffs respectfully move this

court to authorize service by registered electronic mail at the email addresses provided below.

II.    ARGUMENT



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       In order for service to satisfy due process, the methods of service must provide "notice

reasonably calculated, under all the circumstances, to apprise interested parties of the pendency

of the action and afford them an opportunity to present their objections." Mullane v. Central

Hanover Bank & Trust Co, 339 U.S. 306, 314 (1950). Fed. R. Civ. Pro. 4(f)(1)-(3) governs

service of process on an individual in a foreign country. Rule 4(f)(3) in particular states service

may be effected on a defendant “by other means not prohibited by international agreement, as the

court orders.”

       In applying Rule 4(f)(3), a court may authorize a method of service if the method: 1)

is not prohibited by international agreement and 2) comports with constitutional notions of

due process. See WhosHERE, INC. v. ORUN, Civil Action No. 1: 13-cv-00526-AJT-TRJ at

*5 (E.D. Va. Feb. 20, 2014) (citation omitted). A method of service comports with due

process when it gives notice to the defendant under the circumstances. See Mullane, 339

U.S. 306, 314 (1950). Courts have applied Rule 4(f)(3) to “authorize service by differing

modes of electronic and online communications including email and social networking sites

like Facebook.” Id. (supporting case citations omitted). “Ultimately, the decision whether to

order alternative service of process under Rule 4(f)(3) is within the sound discretion of the

court.” Id. at 4 (citations omitted).

A. The Alternative Mean proposed by Plaintiffs is not prohibited by international

agreement.

       Plaintiffs’ proposed alternative means of service of registered electronic mail is not

prohibited by an international agreement. Defendants Surfshark (British Virgin Islands) and

Express VPN (British Virgin Islands and Isle of Man) are under the authority of the United

Kingdom (see https://www.hcch.net/en/states/authorities/details3/?aid=681 [last accessed on
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August 25, 2021]), and Defendant ZenGuard is a German entity. The United States, the United

Kingdom and Germany are parties to the Convention of 15 November 1965 on the Service

Abroad of Judicial and Extrajudicial Documents in Civil or Commercial Matters (“Hague

Convention”). See https://www.hcch.net/en/instruments/conventions/status-table/?cid=17

[last accessed on August 25, 2021]. Therefore, the Hague Convention is the international

agreement for Defendants Surfshark, Express VPN, and ZenGuard.

       Article 10 of the Hague Convention states that “Provided the State of destination does not

object, the present Convention shall not interfere with a) the freedom to send judicial documents,

by postal channels, directly to persons abroad”. Hague Convention, Art. 10.

       The United Kingdom has not given an opposition to Article 10(a), however, Germany has

opposed     Article    10(a).    See    https://www.hcch.net/en/instruments/conventions/status-

table/notifications/?csid=402&disp=resdn [last accessed on August 25, 2021]. Still, numerous

Courts have determined that even for countries that have objected to service through postal

channels under Article 10 of the Hague Convention, email service is still permissible. See,

E.g., CELGARD, LLC v. SHENZEN SENIOR TECHNOLOGY MATERIAL CO. LTD., No. 3:

20-cv-130-GCM at *3 (W.D.N.C. May 20, 2020) (“Thus, under Rule 4(f)(3), Plaintiff may

request service via email—which, as noted above, does not appear to be prohibited by the

Hague Convention—regardless of whether there is an emergency.”); Williams-Sonoma Inc.

v. Friendfinder Inc., No. 06-06572-JSW, 2007 WL 1140639, at *2 (N.D. Cal. Apr. 17,

2007) (distinguishing email from postal mail and concluding that service by email to parties

in the Czech Republic, Norway, Switzerland, and Ukraine was permissible); Fourte

International Limited BVI v. Pin Shine Industrial Co., No. 18-cv-00297-BAS-BGS (S.D.

Cal. Jan. 17, 2019) (finding email service to parties in Taiwan permissible). Notably, in FTC
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v. PCCare247 Inc., the Southern District of New York permitted the Federal Trade Commission

to serve Defendants in India by both email and through their Facebook account after the Indian

Central Authority was unable to formally serve the Indian defendants pursuant to the Hague

Convention despite India’s objection to Article 10(a). See FTC v. PCCare247 Inc., 2013 WL

841037 at 3-4 (S.D.N.Y Mar. 7, 2013).

       The alternate means requested by Plaintiffs is registered email, which was not a

medium considered by the Hague Service Convention. Accordingly, service by registered

email on Defendants Surfshark, Express VPN, and ZenGuard is not prohibited by

international agreement.

       Defendant VPN Consumer Network Services is a Panamanian entity. The United

States and Panama are parties to the Inter-American Convention on Letters Rogatory

("IACLR"). Thus, the IACLR is the international agreement for judicial service in Panama.

       Article 2 of the IACLR provides that:

               “This Convention shall apply to letters rogatory issued in conjunction
       with proceedings in civil and commercial matters held before the appropriate
       judicial or other adjudicatory authority of one of the States Parties to this
       Convention, that have as their purpose:
                     a. The performance of procedural acts of a merely formal
                     nature, such as service of process, summonses or subpoenas
                     abroad;
Inter-American Convention on Letters Rogatory, January 30, 1975, S. TREATY DOC. No.

27, 98th Cong., 2d Sess., Art. 2 (1984). However, as the Fifth Circuit concluded, “the Inter-

American Convention on Letters Rogatory does not foreclose other methods of service

among parties residing in different signatory nations, if otherwise proper and efficacious.”

Kreimerman v. Casa Veerkamp, S.A. de C.V., 22 F.3d 634, 647 (5th Cir. 1994).              The

District of Maryland recently adopted the logic of Kreimerman and allowed alternative

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service under Rule 4(f)(3) of a Panamanian corporation. See RoyaltyStat, LLC v.

IntangibleSpring Corp., Civil Action No. PX 15-3940, 2017 U.S. Dist. LEXIS 33596, at *8-

9 (D. Md. Mar. 9, 2017). Thus, service by email on Defendant VPN Consumer Network

Services is not prohibited by the IACLR.

       Accordingly, service by email on Defendant VPN Consumer Network Services is not

prohibited by any international agreements.

B. The Alternative Mean proposed by Plaintiffs Comports with Due Process.

       Serving Defendants by their email addresses comports with due process because this

approach is reasonably calculated under the circumstances to provide Defendant notice of

this action. All email addresses are those that Defendants publicly identify on their own

websites, third-party records such as of the American Registry of Internet Numbers

(“ARIN”) or the Internet Corporation for Assigned Names and Numbers (“ICANN”). The

regulations established by the ICANN require a Registrar to obtain and provide the email

address of the registrant for the publicly available WHOIS records. See 2013 Registrar

Accreditation                Agreement                 at               ¶¶3.3.1.3-3.3.1.8,

https://www.icann.org/resources/pages/approved-with-specs-2013-09-17-en [Last accessed

on August 26, 2021]. The WHOIS records shows the registrant email, admin, and technical

contact for a website. Thus, each of the email addresses compiled below are submitted by

Defendants themselves and is reasonably calculated under the circumstances to provide

Defendants with notice.

Defendant Source                Email Address

Surfshark   Website       (see support@surfshark.com



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LTD.       Decl. of Joshua

           Lee at ¶3.

           Whois records for      surfshark.com@namebrightprivacy.com

           surfshark.com

           (see Exhibit “1”)

ZenGuard   Whois records for da66cd8ef157fc6ab22ffae92aa56468.gdrp@customers.whoisprivacycorp.com

GMBH       zenmate.com

           (see Exhibit “2”)

           Website         (see germany@kape.com

           Decl. of Joshua

           Lee at ¶3.

Express    ARIN         Records abuse-reports@vpnconsumer.com

VPN        (see    FAC       at

(BVI);     ¶¶211, 252, 335,

Express    340)

VPN (Isle ARIN          Records abuse@expressvpn.com

of Man)    (see   Decl.      of

           Joshua Lee at ¶6)

           Website         (see support@expressvpn.zendesk.com

           Decl. of Joshua

           Lee at ¶¶4-5)

           Whois records for      052kjgvi9p76@idp.email



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            expressvpn.com

            (see Exhibit “3”)

VPN         ARIN        Records abuse-reports@vpnconsumer.com

Consumer and website (see

Network     FAC    at     ¶¶211,

Services    252, 335, 340)

            Whois records for      0392lmkb6n8x@idp.email

            vpnconsumer.com

            (see Exhibit “4”)



       Additionally, by using a third-party company such as RPost, Plaintiffs can confirm

whether the email was received by the email addressee. See, e.g., HUDSON FURNITURE,

INC. v. Mizrahi, No. 20 Civ. 4891 (PAC) (S.D.N.Y. Sept. 1, 2020) (finding service by RPost

appropriate to confirm notice by defendant); Microsoft Corp. v. Gameest Int’l Network Sales

Co., 2017 WL 4517103, at *5 (N.D. Cal. Oct. 10, 2017) (stating that court allowed email

service through a third-party company that confirmed that the emails were received and

opened). Thus, service in the manner requested comports with due process by allowing for

confirmation of notice.

       Accordingly, Plaintiffs respectfully submit that service through email is particularly

appropriate here because Plaintiffs seek to use registered email and, as the record reflects,

Defendant utilize these email addresses to engage in online business and publicly identify

these email addresses as their own.

III.   CONCLUSION
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       For the reasons stated, Plaintiffs respectfully request that the Court grant authorization

pursuant to Fed. R. Civ. Pro. 4(f)(3) to serve by the alternative means of registered email on

Defendants Surfshark, Express VPN, ZenGuard, and VPN Consumer Network Services.



       DATED: Kailua Kona, HI, August 27, 2021.


                                            Respectfully submitted,
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